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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                               FAYETTEVILLE DIVISION


UNITED STATES OF AMERICA                                                     PLAINTIFF

V.                                 CASE NO. 5:24-50007

ZACHARY GILMER                                                            DEFENDANT


                                          ORDER

       Currently before the Court is the Report and Recommendation (Doc. 20) filed in

this case on May 16, 2024, by the Honorable Christy Comstock, United States Magistrate

Judge for the Western District of Arkansas. Both parties have waived the right to object

to the Report and Recommendation for the purpose of expediting acceptance of the guilty

plea in this matter. Id. at ¶ 5.

       The Court has reviewed this case and, being well and sufficiently advised, finds

that the Report and Recommendation is proper and should be—and hereby is—

ADOPTED IN ITS ENTIRETY. Accordingly, Defendant’s guilty plea is accepted. The

written plea agreement will be subject to final approval by the undersigned at sentencing.

       IT IS SO ORDERED on this 16th day of May, 2024.

                                                 _/s/ Timothy L. Brooks______________
                                                 TIMOTHY L. BROOKS
                                                 UNITED STATES DISTRICT JUDGE
